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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION at FRANKFORT

CRIMINAL ACTION NO. 08-21-KSF

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    OPINION & ORDER

LEONARD LAWSON
CHARLES WILLIAM “BILL” NIGHBERT and
BRIAN RUSSELL BILLINGS                                                             DEFENDANTS

                                       ***********

       This matter is before the Court on the motion of the defendants, Leonard Lawson and Charles

William “Bill” Nighbert (collectively “Defendants”), to admit the January 25, 2008 OIG interview

of James Rummage. The Court, having reviewed the record and being otherwise sufficiently

advised, will grant the motion.

       The Office of Inspector General (“OIG”) interviewed Rummage on January 25, 2008, and

recorded the interview. Defendants claim that the recording evidences a calm, cool and collected

Rummage responding to direct questions by investigators concerning his reasons for obtaining

engineers’ estimates from the Estimating Department. Defendants argue that it is “critical for the

jury to hear the actual recording of the interview” so as to enable the fact finder to contrast the

demeanor of Rummage on that date against his demeanor in subsequent recordings after he became

a government informant. They argue that it has independent evidentiary value beyond simply

impeaching Rummage and should be admitted pursuant to Federal Rule of Evidence 807. The

United States argues that the recorded statements are hearsay and do not fall under Rule 807. The

United States also argues that the recording should be excluded pursuant to Federal Rule of Evidence

403 because any probative value is outweighed by the potential for unfair prejudice, confusion of
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the issues or misleading the jury as well as concerns regarding undue delay, waste of time or needless

presentation of cumulative evidence.

        Rule 807 provides that:

        A statement not specifically covered by Rule 803 or 804 but having equivalent
        circumstantial guarantees of trustworthiness, is not excluded by the hearsay rule, if
        the court determines that (A) the statement is offered as evidence of a material fact;
        (B) the statement is more probative on the point for which it is offered than any other
        evidence which the proponent can procure through reasonable efforts; and (c) the
        general purposes of these rules and the interests of justice will best be served by
        admission of the statement into evidence. However, the statement may not be
        admitted under this exception unless the proponent of it makes known to the adverse
        party sufficiently in advance of the trial or hearing to provide the adverse party with
        a fair opportunity to prepare to meet it, the proponent’s intention to offer the
        statement and the particulars of it, including the name and address of the declarant.

Since all of these requirements have been established, the recording is admissible.

        The recording has sufficient particularized guarantees of trustworthiness to be admissible

under Rule 807. Rummage was under oath when he made the statements and was not under duress

when the recording was made. Although Rummage now claims that those statements were untrue,

he acknowledges making them. Whether he was lying during the OIG interview or lying in his more

recent testimony is a central issue in this case but it does not support the United States’ argument that

the recording of the OIG interview is untrustworthy. The recording has circumstantial guarantees

of trustworthiness equivalent to those underlying hearsay exceptions.

        First, Defendants seek to introduce the recording to prove material facts. The recording is

admissible to establish Defendants’ theory of the case – that Rummage is lying now but was telling

the truth in his OIG interview. Second, the recording is the most probative evidence on the points

for which it is offered that Defendants can procure through reasonable efforts. The United States

does not mention what evidence could possible be more probative. Third, admitting the recording

furthers the federal rules’ paramount goal of making relevant evidence admissible. Finally,
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Defendants have provided sufficient pretrial notice to the United States.

       Accordingly, IT IS ORDERED that the Defendants’ Motion to Admit the January 25, 2008

OIG Interview of James Rummage [DE 527] is GRANTED.

       This 7th day of December, 2009.
